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9                                 UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                        OAKLAND DIVISION
12   UNITED STATES OF AMERICA,                   )        No.    CR 05-00651- CW
                                                 )
13           Plaintiff,                          )        STIPULATION AND ORDER
                                                 )        CONTINUING TIME FOR UNITED
14      v.                                       )        STATES’ TO FILE OPPOSITIONS TO
                                                 )        DEFENDANT’S MOTIONS AND
15   TIFFANY TAYLOR, CHRISTOPHER                 )        DOCUMENTING THE EXCLUSION OF
     JOHNSON, JOHN MORGAN, KIM                   )        TIME UNDER THE SPEEDY TRIAL ACT
16   DRAGO, and MICHAEL DOWNEY,                  )        18 U.S.C. § 3161
                                                 )
17           Defendants.                         )                               .
                                                 )
18
19           Defendant Christopher Johnson is one of two remaining defendants who have not entered
20   guilty pleas in this case. Defendant Johnson was out of contact with his defense counsel from
21   approximately January through June 2006. During that time, the remainder of the defendants
22   engaged in extensive settlement discussions with the United States, and the case was resolved
23   against all but one of those defendants. Defendant Johnson filed motions on August 4, 2006.
24   The United States’ response to those motions was due on August 18, 2006. However, the parties
25   are engaging in settlement discussions and agree that the United States’ time to respond to the
26   motions filed by defendant Johnson should be extended. Therefore, the parties request that the
27   Court extend the time for the filing of the United States’ opposition to defendant Johnson’s
28   motions to September 18, 2006, one week before the next court date in this matter, and
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1    document the exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161 due to the
2    pendency of defendant Johnson’s motions.
3           With the agreement of the parties, and with the consent of the defendant, the Court enters
4    this order continuing the date for the United States to respond to defendant Johnson’s motions to
5    September 18, 2006, and documenting the exclusion of time under the Speedy Trial Act, 18
6    U.S.C. § 3161, from August 5, 2006, through September 25, 2006, or the date when the Court
7    resolves the defendant’s motions, whichever is later. The parties agree, and the Court finds and
8    holds, as follows:
9           1. Defendant Johnson is in custody.
10          2. Defendant Johnson agrees that the time for the United States to file its oppositions to
11   his motions should be extended to September 18, 2006.
12          3. Defendant Johnson agrees that time is excluded under the Speedy Trial Act based
13   upon the pendency of the motions he has filed in this matter.
14          4. Given these circumstances, the Court continues the date for the United States to file
15   oppositions to defendant Johnson’s motions to September 18, 2006, and documents the exclusion
16   of time under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(1)(F).
17
18   STIPULATED:
19
20   DATED: September 5, 2006                                   /S/
                                                         KIRSTIN M. AULT
21                                                       Assistant United States Attorney
22
23   DATED: August 30, 2006                                    /S/
                                                         RANDALL KNOX
24                                                       Attorney for Defendant Johnson
25
26   IT IS SO ORDERED.
27
                9/7/06
28   DATED:________________               _______________________________
                                          CLAUDIA WILKEN
                                          United States District Judge

                                                     2
